
Motion to amend remittitur granted. Return of remittitur requested and, when returned, it will be amended by adding thereto the following: Upon the appeal herein there were presented and necessarily passed upon questions under the Constitution of the United States, viz.: Appellant contended (1) that his rights under the Fifth Amendment of the Constitution of the United States were violated in that appellant was compelled to testify against himself after arraignment; and (2) that he was convicted on evidence obtained by unlawful search and seizure, in violation of his rights under the Fourth Amendment of the Constitution of the United States, and that such unlawful search and seizure deprived him of his constitutional right to privacy under the Fourteenth Amendment of the Constitution of the United States. The Court of Appeals held that appellant’s constitutional rights had not been violated. [See 13 N Y 2d 1094.]
